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11   BENEFIT COSMETICS LLC
12
                                 UNITED STATES DISTRICT COURT
13
                                NORTHERN DISTRICT OF CALIFORNIA
14
15    BENEFIT COSMETICS LLC,                  Case No.: 3:23-cv-00861-RS
16                 Plaintiff,                 [PROPOSED] ORDER DENYING
                                              DEFENDANT E.L.F. COSMETICS, INC.’S
17           v.                               MOTION TO MODIFY THE CASE
                                              MANAGEMENT SCHEDULING ORDER
18    E.L.F. COSMETICS, INC.
                                              Trial Date: August 26, 2024
19                 Defendant.                 Courtroom: 3
                                              Judge:      Hon. Richard Seeborg
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                                                             Case No.: 3:23-cv-00861-RS
      [PROPOSED] ORDER DENYING DEFENDANT E.L.F. COSMETICS, INC.’S MOTION TO MODIFY
                       THE CASE MANAGEMENT SCHEDULING ORDER
         Case 3:23-cv-00861-RS Document 56-2 Filed 01/02/24 Page 2 of 2



 1          Having considered Defendant e.l.f. Cosmetics, Inc.’s Motion to Modify the Case Management
 2   Scheduling Order and Plaintiff’s opposition thereto, the Court hereby DENIES the Motion due to
 3   Defendant’s failure to demonstrate good cause to amend the schedule. The deadlines and dates shall
 4   remain unchanged.
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 7   DATED: _____________________________              _____________________________
                                                       HON. RICHARD SEEBORG
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      [PROPOSED] ORDER DENYING DEFENDANT E.L.F. COSMETICS, INC.’S MOTION TO MODIFY
                       THE CASE MANAGEMENT SCHEDULING ORDER
